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                          UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF MICHIGAN
                               NORTHERN DIVISION



JOHN TYLER McKINNEY, Jr.,
                                                CRIMINAL CASE NO. 07-CR-20526
        Petitioner,                             CIVIL CASE NO. 12-CV-10089

v.                                              DISTRICT JUDGE THOMAS LUDINGTON
                                                MAGISTRATE JUDGE CHARLES BINDER
UNITED STATES OF AMERICA,

      Respondent.
_____________________________/


             MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION
                ON PETITIONER’S MOTION UNDER 28 U.S.C. § 2255
                TO VACATE, SET ASIDE, OR CORRECT SENTENCE
                                  (Doc. 109)


I.      RECOMMENDATION

        For the reasons set forth below, IT IS RECOMMENDED that the motion be DENIED.



II.     REPORT

        A.     Introduction

        Pending, pursuant to an order of reference from United States District Judge Thomas L.

Ludington, is the above-entitled motion, which was filed pursuant to 28 U.S.C. § 2255, to vacate

the federal custodial sentence of John Tyler McKinney, Jr. (“McKinney”). The government

responded (Doc. 116) and McKinney replied. (Doc. 121.) Therefore, pursuant to E.D. Mich. LR

7.1(f)(2), the motion is ready for Report and Recommendation without oral argument.
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       B.     Background

       McKinney was charged in an eleven-count indictment with: conspiracy to distribute cocaine

base, commonly known as crack cocaine, in violation of 21 U.S.C. § 846 (Count 1); distribution

of 5 grams or more of a substance containing cocaine base, commonly known as crack cocaine,

on March 1, 2007, in violation of 21 U.S.C. § 841(a)(1) (Count 2); distribution of 50 kilograms

of a substance containing marijuana, on March 1, 2007, in violation of 21 U.S.C. § 841(a)(1) and

(b)(1)(D) (Count 3); distribution of 5 grams or more of a substance containing cocaine base,

commonly known as crack cocaine, on October 3, 2007, in violation of 21 U.S.C. § 841(a)(1) and

(b)(1)(B)(iii) (Count 8); possession with intent to distribute less than 50 kilograms of a substance

containing marijuana in violation of 21 U.S.C. § 841(a)(1) and (b)(1)(D) (Count 9); possession of

a firearm in furtherance of a drug trafficking crime, on October 19, 2007, in violation of 18 U.S.C.

§ 924(c)(1)(A) (Count 10); and felon in possession of a firearm on October 19, 2007, in violation

of 18 U.S.C. § 922(g)(1) (Count 11). (Doc. 3.) On February 5, 2008, a Notice of Penalty

Enhancement was filed pursuant to 21 U.S.C. § 851, indicating that McKinney had been

previously convicted of a felony drug offense in Saginaw County and thus was subject to enhanced

penalty provisions. (Doc. 28.) On February 12, 2008, defense counsel filed an objection to the

notice, arguing that “since said prior conviction is part of the same criminal episode being the

conspiracy charged in this case and is not a distinct and separate act, said prior conviction cannot

form the basis of enhanced penalties . . . .” (Doc. 30 at 2.)

       On February 20, 2008, McKinney pleaded guilty to Count 8 of the indictment and the

remaining counts were dismissed pursuant to the Rule 11 agreement. (Doc. 34.) In the agreement,

the government recommended that McKinney be granted a reduction of three levels for acceptance


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of responsibility and it was noted that there were no sentencing guideline disputes and that the

applicable range was 120 months, absent any criminal history discoveries or any false statements

or withheld information that would demonstrate a lack of acceptance of responsibility. (Doc. 34

at 3-4.) At the sentencing hearing on August 14, 2008, McKinney was sentenced to the mandatory

minimum sentence of 120 months in prison as evidenced in the judgment entered on August 18,

2008. (Doc. 49 at 2.)

       McKinney appealed and, on February 26, 2010, the Sixth Circuit affirmed his conviction and

sentence. (Doc. 100.)1 On appeal, defense counsel moved to withdraw and filed a brief pursuant to

Anders v. California, 386 U.S. 738, 87 S. Ct. 1396, 18 L. Ed. 2d 493 (1967), because McKinney

waived any appellate rights except with respect to one contested guideline issue. (Doc. 100 at 2.)

Although that issue had been decided in favor of the government, since it did not affect

McKinney’s sentence, that issue was not worth pursuing. (Id.) The Sixth Circuit noted that although

McKinney had been notified of his right to respond to counsel’s Anders brief, McKinney did not

respond.

       After reviewing the plea colloquy, the Sixth Circuit found that nothing in the district court

record suggested that McKinney’s assent to the appeal waiver provision in the Rule 11 agreement

was unknowing or involuntary. (Doc. 100 at 2.) Therefore, the Sixth Circuit upheld the waiver. (Id.)

The sole exception to the appeal waiver covered any adverse determination of any disputed

guideline issue raised before the district court. As to that exception, the Sixth Circuit noted that the

maximum sentence recommended by the guidelines, even after the base offense level was enhanced

by two levels for possession of a weapon, was 108 months imprisonment, which was below the


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           The mandate was filed on March 22, 2010. (Doc. 101.)

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120-month statutory mandatory-minimum sentence imposed. (Doc. 100 at 3.) Thus, the Sixth

Circuit held that the adverse determination of the sentencing guideline issue, which resulted in a

two-level enhancement, had no bearing on McKinney’s sentence and would provide no ground for

relief on appeal. (Id.)

       McKinney filed the instant motion to vacate his sentence on January 3, 2012. (Doc. 109.)

In the motion, McKinney contends: (1) ineffective assistance of counsel for counsel’s failure to

investigate and discover the criminal background of the government’s informants; (2) prosecutorial

misconduct and Brady violation because the government “withheld exculpatory and impeachment

material; (3) ineffective assistance of counsel for counsel’s failure to inform him that a plea of

guilty would waive his Speedy Trial Act rights; and (4) “Actual Innocence of 21 U.S.C.

Enhancement.” (Doc. 109 at 4-5.)

       C.         Limitation Period

       The Antiterrorism and Effective Death Penalty Act of 1996 (“AEDPA”), Pub. L. No. 104-

132, 110 Stat. 1214 (April 24, 1996), applies in this case because the petition was filed after the

effective date of the AEDPA. Lindh v. Murphy, 521 U.S. 320, 336, 117 S. Ct. 2059, 138 L. Ed. 2d

481 (1997). The AEDPA contains a one-year statute of limitations for petitions seeking to vacate,

set aside or correct federal sentences. 28 U.S.C. § 2255(f).2 “Prior to this [enactment], a party could


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           28 U.S.C. § 2255(f) states:

       A 1-year period of limitation shall apply to a motion under this section. The limitation period shall
       run from the latest of–

                  (1) the date on which the judgment of conviction became final;

                  (2) the date on which the impediment to making a motion created by governmental action
                  in violation of the Constitution or laws of the United States is removed, if the movant was
                  prevented from making a motion by such governmental action;


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bring a § 2255 motion at any time.” United States v. Simmonds, 111 F.3d 737, 744 (10th Cir. 1997).

Pursuant to § 2255(f)(1), the one-year statute of limitations runs from the date on which the

judgment of conviction becomes final. When a § 2255 petitioner does not pursue a direct appeal

to the court of appeals, his or her conviction becomes final on the date the time for filing such an

appeal expires. Sanchez-Castellano v. United States, 358 F.3d 424, 428 (6th Cir. 2004); United

States v. Cottage, 307 F.3d 494, 499 (6th Cir. 2002). When a petitioner appeals to the Sixth Circuit,

the appeal is dismissed, and there is no evidence that the petitioner sought a writ of certiorari to the

United States Supreme Court, “§ 2255’s one-year limitation period begins to run when the time for

seeking such review expires.” Clay v. United States, 537 U.S. 522, 532, 123 S. Ct. 1072, 155 L. Ed.

2d 88 (2003). Where there is no evidence that a writ of certiorari was pursued, the limitation period

becomes one year after the time for seeking certiorari expired, i.e., one year and 69 days after the

appeals court issued its mandate or one year and 90 days after the court of appeals entered its

judgment. Id.

       In the instant case, McKinney filed his motion to vacate sentence on January 3, 2012. (Doc.

109.) The Sixth Circuit’s opinion was issued on February 26, 2010 (Doc. 100) and the mandate was

issued on March 22, 2010. (Doc. 101.) There is no indication that McKinney petitioned for a writ

of certiorari to the United States Supreme Court. Thus, in order to be timely, McKinney’s motion

must have been filed by May 27, 2011, or May 30, 2011, i.e., one year and 69 days after the appeals

court issued its mandate or one year and 90 days after the appeals court entered its judgment. Since



                (3) the date on which the right asserted was initially recognized by the Supreme Court, if
                that right has been newly recognized by the Supreme Court and made retroactively
                applicable to cases on collateral review; or

                (4) the date on which the facts supporting the claim or claims presented could have been
                discovered through the exercise of due diligence.

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McKinney is a prisoner, the motion is considered filed “at the time the petitioner delivered it to

prison authorities for forwarding to the court clerk.” Houston v. Lack, 487 U.S. 266, 276, 108 S.

Ct. 2379, 101 L. Ed. 2d 245 (1988). In the instant case, it is difficult to tell when that happened.

McKinney did not date the motion and appeared to recognize that the motion was untimely since

he argued that he did not discover the exculpatory impeachment evidence until November 2011,

after he was made aware of a co-defendant’s appeal, i.e., Stanley Brazil, Jr. (Doc. 109 at 8.)

McKinney argues that he exercised due diligence within the meaning of 28 U.S.C. § 2255(f)(4).

The government did not address the timeliness issue but instead makes a passing reference at the

conclusion of its statement of facts that the “timely 28 U.S.C. § 2255 was filed on January 3, 2012.”

(Doc. 116 at 3.)

        Although McKinney contends that he was unaware of the impeachment evidence until

November 2011, the opinion in the Stanley Brazil case was issued on August 30, 2010. United

States v. Brazil, 395 Fed. Appx. 205, 210 (6th Cir. 2010).3 McKinney does not indicate how he

became aware of his co-defendant’s appeal or why it took over over one year after the opinion was



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            Defendant Stanley Brazil alleged

        that the prosecution committed a Brady violation by failing to disclosed, in a timely fashion, the
        statement of Willie Jackson taken by [agent] Bowden on September 15, 2008 (the day before trial
        started). Brazil maintains in part that this statement demonstrates that law enforcement knew that
        Dancey was continuing to engage in unauthorized side drug sales through at least October of 2007 -
        despite the fact that Bowden had suggested in his testimony that Dancey had stopped all
        unauthorized sales in May of 2007. The prosecution provided a full transcript of Jackson’s
        statement to the defense on September 19, 2008, the third day of trial, just before Jackson testified
        ....

Brazil, 395 Fed. Appx. at at 214. The Sixth Circuit held that the statement fell within the ambit of the Jencks Act,
18 U.S.C. § 3500, noted that when Brady material is also covered by the Jencks Act, the terms of the Jencks Act
govern the timing of disclosure, and that the government complied with the Jencks Act by providing the transcript
to defense counsel before Jackson testified. Id. at 215. The Sixth Circuit also noted that even if the statement was
not Jencks Act material, Brazil could not demonstrate a Brady violation because Brady does not generally apply to
a delayed disclosure of exculpatory information, but only to a complete failure to disclose. Id. at 216, n.3.

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issued for him to notice it. McKinney does not indicate that he tried to contact counsel to learn of

any issues raised by co-defendants, including Stanley Brazil, nor does he allege that any obstacle

prevented him from reviewing the appellate opinion in Brazil when it issued in August 2010. I

therefore suggest that McKinney has not shown that he exercised due diligence; and thus, I suggest

that he has not complied with § 2255(f)(4)

         To the extent that McKinney is arguing that he is entitled to equitable tolling, I suggest that

he is not. A petitioner seeking equitable tolling of the statute of limitations has the burden of

establishing two elements: “(1) that he has been pursuing his rights diligently, and (2) that some

extraordinary circumstance stood in his way.” Pace v. DiGuglielmo, 544 U.S. 408, 418-19, 125 S.

Ct. 1807, 161 L. Ed. 2d 669 (2005). “Ineffective assistance of counsel does not apply in this

context, because [petitioner] possessed no right to counsel in the prosecution of a § 2255 motion.”

Brown v. United States, 20 Fed. Appx. 373, 375 (6th Cir. 2001). For the same reasons stated above,

I suggest that McKinney has not shown that he is entitled to equitable tolling. I therefore suggest

that McKinney’s motion to vacate is untimely and that it is subject to dismissal on this ground

alone.

         D.     Alternative Analysis

         Even if this Court were to consider the merits of McKinney’s claims, I suggest that the result

would be the same and that the motion to vacate should be denied.

         1.     Standard of Review

         In order to prevail on a motion brought under 28 U.S.C. § 2255, a petitioner must show a

“fundamental defect which necessarily results in a complete miscarriage of justice or an egregious

error violative of due process.” Gall v. United States, 21 F.3d 107, 109 (6th Cir. 1994). A section


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2255 motion is not a substitute for a direct appeal. When a petitioner raises a claim that he failed

to raise at the appellate level, a court is generally precluded from reviewing the merits of such a

claim unless a petitioner can show: (1) cause for his failure to raise the claim earlier in a direct

appeal; and (2) actual prejudice stemming from the alleged violation or actual innocence. Reed v.

Farley, 512 U.S. 339, 354-55, 114 S. Ct. 2291, 129 L. Ed. 2d 277 (1994); United States v. Frady,

456 U.S. 152, 167-68, 102 S. Ct. 1584, 71 L. Ed. 2d 816 (1981). A post-conviction motion under

section 2255 is the proper vehicle for raising claims of ineffective assistance of counsel in the first

instance. United States v. Crowe, 291 F.3d 884, 886 (6th Cir. 2002) (citing United States v. Wunder,

919 F.2d 34, 37 (6th Cir. 1990)).

       Claims of ineffective assistance of counsel are governed by the U.S. Supreme Court’s rule

pronounced in Strickland v. Washington, 466 U.S. 668, 104 S. Ct. 2052, 80 L. Ed. 2d 674 (1984).

In Strickland, the Court enunciated a two-pronged test that must be satisfied to prevail on an

ineffective assistance of counsel claim. First, the movant must show that counsel’s performance was

deficient in that it fell below an objective standard of reasonableness. Id. at 688. “Constitutionally

effective counsel must develop trial strategy in the true sense – not what bears a false label of

‘strategy’ – based on what investigation reveals witnesses will actually testify to, not based on what

counsel guesses they might say in the absence of a full investigation.” Ramonez v. Berghuis, 490

F.3d 482, 488 (6th Cir. 2007). Second, the movant must show that he was prejudiced by the

deficiency to such an extent that the result of the proceeding is unreliable. Strickland, 466 U.S. at

688. It is not enough to show that the alleged error “had some conceivable affect on the outcome

of the proceeding.” Id. Rather, the movant must show that, but for counsel’s errors, the result would




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have been favorably different. Id. at 693. Failure to make the required showing under either prong

of the Strickland test defeats the claim. Id. at 700.

       The Supreme Court has explained that “[t]he essence of an ineffective-assistance claim is

that counsel’s unprofessional errors so upset the adversarial balance between defense and

prosecution that the trial was rendered unfair and the verdict rendered suspect.” Kimmelman v.

Morrison, 477 U.S. 365, 374, 106 S. Ct. 2574, 91 L. Ed. 2d 305 (1986). This language highlights

the Supreme Court’s consistent view that the Sixth Amendment right to counsel is a safeguard to

ensure fairness in the trial process.

       In Lockhart v. Fretwell, 506 U.S. 364, 113 S. Ct. 838, 122 L. Ed. 2d 180 (1993), the Court

clarified the meaning of “prejudice” under the Strickland standard, explaining:

       Under our decisions, a criminal defendant alleging prejudice must show “that
       counsel’s errors were so serious as to deprive the defendant of a fair trial, a trial
       whose result is reliable.” . . . Thus, an analysis focusing solely on the mere outcome
       determination, without attention to whether the result of the proceeding was
       fundamentally unfair or unreliable, is defective.

Lockhart, 506 U.S. at 369 (citations omitted).

       Ineffective assistance of counsel claims “may be brought in a collateral proceeding under

§ 2255 whether or not the petitioner could have raised the claim on direct appeal.” Massaro v.

United States, 538 U.S. 500, 504, 123 S. Ct. 1690, 155 L. Ed. 2d 714 (2003).

       2.     Grounds One & Two: Ineffective Assistance & Brady Violation

       McKinney contends that Assistant United States Attorney

       Shane Waller failed to turn over information that was exculpatory and impeaching,
       starting with the fact of Thomas Dancy, stating he was gonna get petitioner to i.e. set
       him up, the fact that Thomas Dancy repeatedly and constantly called Andera Katie
       Rankin to get petitioner’s phone number to set him up. The fact that Thomas Dancy,
       the government’s informant and sole witness was a liar. Shane Waller, U.S.A., did
       not provide me with information of Thomas Dancy[’]s arrest record of his illegal

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        drug use and drug sales . . . did not provide me with Andrea Rankin[’]s arrest record,
        her drug use and any drug deals made with her. Shane Waller further witheld the fact
        that Thomas Dancy his sole witness sold drugs unauthorized on August 7th 2007,
        Shane Waller further increased Thomas Dancy[’]s pay as a informant to feed his drug
        habit. Shane Waller, further witheld the fact that he payed [sic] Thomas Dancy[’]s
        child support payments. Shane Waller further witheld a statement from another
        informant, whose name is Willie Floyd Jackson, said statement was against Thomas
        Dancy, for illegal drug sales. The statement was available as it was given to Stanely
        Brazil[’]s Attorney by Shane Waller, through the discovery process at Stanley
        Brazil[’]s trial . . . . It was therefore available but it was witheld by Shane Waller.

(Doc. 109 at 8-9.) Since the only misconduct alleged is the Brady violation, McKinney’s use of the

phrase “prosecutorial misconduct” is fully encompassed by consideration of the Brady issue.

        In Brady v. Maryland, 373 U.S. 83, 83 S. Ct. 1194, 10 L. Ed. 2d 215 (1963), the United

States Supreme Court explained that “the suppression by the prosecution of evidence favorable to

an accused upon request violates due process where the evidence is material either to guilt or to

punishment, irrespective of the good faith or the bad faith of the prosecution.” Id. at 87. This

obligation was extended to evidence that is useful to the defense for purposes of impeaching

government witnesses, regardless of whether the impeachment evidence was inherently exculpatory

or not. Giglio v. United States, 405 U.S. 150, 153, 92 S. Ct. 763, 31 L. Ed. 2d 104 (1972).

        In Campbell v. Marshall, 769 F.2d 314 (6th Cir. 1985), the Sixth Circuit analyzed the Brady4

trilogy and surmised that these cases together “held that where a guilty plea is otherwise voluntarily

and intelligently made with the advice of competent counsel and where the factual basis for the plea

fully establishes guilt, the plea is not rendered involuntary merely because the defendant may have

been motivated by a statute or state conduct later found to be unconstitutional.” Campbell, 769 F.2d



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         Brady v. United States, 397 U.S. 742, 90 S. Ct. 1463, 25 L. Ed. 2d 747 (1970), which the Sixth Circuit
noted should not be confused with Brady v. Maryland, supra. The other cases forming the trilogy are McMann v,
Richardson, 397 U.S. 759, 90 S. Ct. 1441, 25 L. Ed. 2d 763 (1970), and Parker v. North Carolina, 397 U.S. 790,
90 S. Ct. 1458, 25 L. Ed. 2d 785 (1970).

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at 319. In Brady, the defendant had been at least partially induced to plead guilty by fear of

receiving the death penalty if he were to stand trial and lose. A later case overturned the death

penalty statute in question, but the Court held that even though the defendant could not have

anticipated the statute being overturned, the later change in the law did not impugn the reliability

of his plea. Campbell, 769 F.2d at 319; Brady, 397 U.S. at 757.

       In the McMann case, the second case in the trilogy, the defendants each claimed their plea

was motivated by the threat of admission of a confession which the defendants claimed was coerced

and hence, inadmissible. Campbell, 769 F.2d at 319; McMann, 397 U.S. at 764-65. The McMann

Court “clearly held that ‘a defendant who alleges that he pleaded guilty because of a prior coerced

confession is not, without more, entitled to a hearing on his petition for habeas corpus.’” Campbell,

769 F.2d at 320 (quoting McMann, 397 U.S. at 771).

       In the third case in the trilogy, Parker, the defendant claimed that his confession, which had

influenced his decision to plead, had been coerced. The Court held that even assuming the

confession would have been inadmissible, “‘the guilty plea was Parker’s free and voluntary act, the

product of his own choice, just as he affirmed it was when the plea was entered in open court.’”

Campbell, 769 F.2d at 321 (quoting Parker, 397 U.S. at 796). “In addition, the Court found that the

apparent miscalculation of Parker’s counsel as to the admissibility of Parker’s confession did not

invalidate the guilty plea.” Id. The Court in Parker summarized that the

       import of this claim is that he suffered from bad advice and that had he been correctly
       counseled he would have gone to trial rather than enter a guilty plea . . . [however,]
       even if Parker’s counsel was wrong in his assessment of Parker’s confession, it does
       not follow that his error was sufficient to render the plea unintelligent and entitle
       Parker to disavow his admission in open court that he committed the offense with
       which he was charged. . . . [W]e think the advice he received was well within the
       range of competence required of attorneys. . . . Parker’s plea of guilty was an


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       intelligent plea not open to attack on the grounds that counsel misjudged the
       admissibility of Parker’s confession.

Parker, 397 U.S. at 796-98.

       In Campbell, the defendant was charged with murdering his wife and her lover and the

prosecution had failed to turn over evidence that a .25 caliber semi-automatic pistol was found in

the victim’s left, rear hip pocket and defense counsel had not sought the exculpatory evidence prior

to Campbell’s decision to plead guilty. Campbell, 769 F.2d at 316. The Sixth Circuit opined that

in the “Brady Trilogy the Supreme Court did not intend to insulate all misconduct of constitutional

proportions from judicial scrutiny solely because that misconduct was followed by a plea which

otherwise passes constitutional muster as knowing and intelligent.” Campbell, 769 F.2d at 321.

Nonetheless, the Sixth Circuit concluded that Campbell’s plea-taking procedure was proper, that

the alleged misconduct did not detract from the credible factual basis given by Campbell and that

his stated conduct negated any self-defense theory to which the victim’s gun may have been

relevant, that the misconduct was no greater than the misconduct alleged in the Brady trilogy, and

that counsel’s albeit erroneous advice was “less blameworthy” than the erroneous advice given in

Parker and McMann. Campbell, 769 F.2d at 322. The Sixth Circuit also stated that the “certainty

of a constitutional violation is much less clearly established here than in the Brady trilogy . . . [and]

there is no authority within our knowledge holding that suppression of Brady material prior to trial

amounts to a deprivation of due process.” Id.5

       I suggest that under this authority, defense counsel’s alleged failure to seek and the

prosecution’s failure to provide the impeachment evidence was no more “blameworthy” than the

conduct in the above cases and thus did not undermine the validity of McKinney’s plea.

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           Brady material refers to Brady v. Maryland, supra.

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        The authority missing at the time Campbell was decided, i.e., whether suppression of Brady

material prior to trial violates due process, was provided in United States v. Ruiz, 536 U.S. 622,

122 S. Ct. 2450, 153 L. Ed. 2d 586 (2002).6 In Ruiz, the United States Supreme Court concluded

that the Constitution does not require “pre-guilty plea disclosure of impeachment information.” Id.

at 632. The Court distinguished that impeachment evidence relates to the “fairness of a trial” not

to the question of whether a plea is voluntary. The Court acknowledged that “the more information

the defendant has, the more aware he is of the likely consequences of a plea, waiver, or decision,

and the wiser that decision will be” but nonetheless concluded that “the Constitution does not

require the prosecutor to share all useful information with the defendant.” Id. In reaching its

conclusion, the Court stated that “a constitutional obligation to provide impeachment information

during plea bargaining, prior to entry of a guilty plea, could seriously interfere with the

Government’s interest in securing those guilty pleas that are factually justified, desired by

defendants, and help to secure the efficient administration of justice.” Id. at 630. Therefore, “Ruiz

teaches that Brady does not protect against the possible prejudice that may ensue from the loss of

an opportunity to plea-bargain with complete knowledge of all relevant facts[;] . . . when a

defendant chooses to admit his guilt, Brady concerns subside.” United States v. Mathur, 624 F.3d

498, 507 (1st Cir. 2010). Accord United States v. Wells, 260 Fed. App’x 902, 904-05 (6th Cir.

2008).7


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         After Ruiz, it is unclear how much of Campbell’s reasoning remains viable. See McClellan v. Rapelje, No.
2:09-CV-10617, 2010 WL 5294366, at *12 (E.D. Mich. Nov. 15, 2010) (calling into question the validity of
Campbell and other cases in light of Ruiz). However, since Campbell has not been overturned, the analysis utilizes
both pre- and post-Ruiz case law.
        7
          “Circuit courts have split on the issue whether Brady v. Maryland’s restrictions apply to suppression
hearings, although it is not likely that a prosecutor must disclose impeachment evidence before a suppression hearing
in light of the Supreme Court’s decision in United States v. Ruiz . . . .” United States v. Harmon, No. CR 10-1760
JB, 2012 WL 1684566, at *19 (D.N.M. May 20, 2012) (collecting cases).

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          I therefore suggest that since McKinney chose to admit his guilt, any Brady concerns

subsided and cannot provide a ground for relief.

          3.     Ground Three: Ineffective Assistance Regarding Speedy Trial Act

          McKinney contends that “[c]ounsel never informed [him] that by pleading guilty he would

be waiving his Speedy Trial Rights, counsel further failed to inform petitioner that by pleading

guilty, he would not be able to appeal to the court of appeals the violation of his speedy trial rights.”

(Doc. 109 at 11.) McKinney further contends that he “would never have pleaded guilty had counsel

informed him that by pleading guilty he would be waiving his speedy trial rights . . . .” (Doc. 109

at 11.)

          The government contends that McKinney’s argument was waived by entry of his voluntary

and unconditional plea and that any speedy trial claim would fail since “the days not excluded

amount to a mere 53 days which is well below the greater than 70 days necessary for a speedy trial

violation.” (Doc. 116 at 5-6.)

          A voluntary and unconditional guilty plea waives all pre-plea, non-jurisdictional

constitutional deprivations. Tollet v. Henderson, 411 U.S. 258, 267, 93 S. Ct. 1602, 36 L. Ed. 2d

235 (1973); accord United States v. Ornsby, 252 F.3d 844, 848 (6th Cir. 2001). Since the right to

a speedy trial, whether based on he constitution or the Speedy Trial Act, is not jurisdictional, it

follows that McKinney waived his rights by entering his guilty plea. See Smith v. Burt, No. 2-08-cv-

13242, 2009 WL 2876987 (E. D. Mich. Sept. 3, 2009).8

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         I note that the type of waiver in this case is a retrospective waiver, not the prospective waiver found to be
unconstitutional in Zedner v. United States, 547 U.S. 489, 126 S. Ct. 1976, 164 L. Ed. 2d 749 (2006). In Zedner,
the United States Supreme Court held that “Congress refrained from empowering defendants to make prospective
waivers of the Act’s application” but also noted that “there is no reason to think that Congress wanted to treat
prospective and retrospective waivers similarly . . . the sort of retrospective waiver allowed by § 3162(a)(2) does
not pose a comparable danger because the prosecution and the court cannot know until the trial actually starts or the
guilty plea is actually entered whether the defendant will forgo moving to dismiss.” Zedner, 547 U.S. at 502.

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        However, McKinney raises this issue in the context of counsel being ineffective for failing

to inform him that his unconditional guilty plea would preclude him from raising any speedy trial

issue on appeal and in support of his argument he cites Maples v. Stegall, 340 F.3d 433 (6th Cir.

2003). (Doc. 109 at 11.) In Maples, the petitioner’s counsel had expressly assured petitioner that

he would be able to appeal his conviction based on speedy trial rights and that advice turned out

to be in error. Maples, 340 F.3d at 434. The Sixth Circuit remanded the case to the district court

with “directions that the court assess the merits of Maples’s speedy-trial argument as part of his

ineffective assistance of counsel claim” because “petitioner’s counsel made an affirmative

misrepresentation upon which the petitioner reasonably relied in deciding to plead guilty” to

determine whether petitioner could establish prejudice resulting from counsel’s error. Id. at 440.

The transcript from the plea proceeding showed that counsel believed the plea “wouldn’t affect

[Maples’s] rights preserved on appeal, 180 days and all that . . . .” Id. at 435.

        I suggest that Maples is distinguishable. In the instant case, there was no mention of speedy

trial rights and no concomitant confusion regarding waiver of the same during the plea colloquy.

(Doc. 90.) More importantly, McKinney has not alleged that counsel advised him erroneously that

his speedy trial rights would not be waived by his guilty plea. Thus, there was no erroneous advice

given that could be considered deficient performance. Counsel is not required to expressly state

each and every possible legal issue that will be waived by entry of a guilty plea in order to be

effective; it is sufficient that a defendant be made aware that a guilty plea will waive potential legal




Accordingly, although Zedner precludes prospective waivers, it does not undermine the Speedy Trial Act’s provision
that deems a waiver has occurred if the defendant has not moved for dismissal prior to trial or entry of a guilty plea.
§ 3162(a)(2); Zedner, 547 U.S. at 494; United States v. Brown, 498 F.3d 523, 529-30 (6th Cir. 2007) (concluding
that Brown’s Speedy Trial Act claim was waived because it was not raised before trial).

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issues that could be raised and McKinney was so informed. (Doc. 90 at 7-8.) I therefore suggest that

counsel’s performance in this case, unlike counsel’s performance in Maples, was not deficient.

       Furthermore, even when applying Maples and considering the merits of any Speedy Trial

Act claim in determining whether McKinney suffered any prejudice, McKinney’s case was

concluded within the time limits set forth in the Speedy Trial Act, as noted by the government.

(Doc. 116 at 6.) In addition, as to any Sixth Amendment speedy trial rights, McKinney was not

subjected to an “uncommonly long” delay as required to prove a Sixth Amendment speedy trial

claim. See United States v. Young, 657 F.3d 408, 414 (6th Cir. 2011) (analyzing factors needed to

prove Sixth Amendment speedy trial claim and noting that the threshold factor is an uncommonly

long delay). Thus, McKinney could not have been prejudiced by any failure to be informed that his

guilty plea would waive speedy trial rights. Lockhart, supra.

       I therefore suggest that McKinney’s “ineffective assistance of counsel, violation of the

Speedy Trial Act” claim is without merit and does not provide a ground for relief under § 2255.

       4.     Ground Four: Actual Innocence of 21 U.S.C. § 851 Enhancement

       McKinney argues “actual innocence of enhancement” because the Notice of Penalty

Enhancement filed pursuant to 21 U.S.C. § 851 (Doc. 28) was improperly applied where he “was

never sentenced to a sentence of more than a year and a day [] [b]ut in fact received a sentence of

nine months in prison, with five years probation, the actual time spent in prison was not a year and

a day but less than a year.” (Doc. 109 at 12.) Since McKinney failed to raise this issue on appeal,

he must show: (1) cause for his failure to raise the claim earlier in a direct appeal; and (2) actual

prejudice stemming from the alleged violation or actual innocence. Reed, 512 U.S. at 354-55.




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       At the outset, it should be noted that McKinney’s argument that he is actually innocent of

a sentence enhancement is a legal argument that is not the same as an allegation of actual and

factual innocence of the underlying criminal offense. See Tomlinson v. Berkebile, No. 6: 11-00138-

KSF, 2012 WL 1533493, at *3 (E.D. Ky Apr. 30, 2012) (citing Wyatt v. United States, 574 F.3d

455, 460 (7th Cir. 2009); accord Gilbert v. United States, 640 F.3d 1293, 1320 (11th Cir. 2011)

(Gilbert argued that he was actually innocent of being a career offender; the court reasoned that

“[i]f guidelines enhancements were crimes, they would have to be charged in the indictment and

proven to the jury beyond a reasonable doubt[;] . . . Gilbert’s position turns on treating sentences

as convictions, and an argument that depends on calling a duck a donkey is not much of an

argument.”).

       Under 21 U.S.C. § 841(a)(1) and U.S.S.G. § 2D1.1, McKinney’s base offense level was

enhanced based on his 2006 Michigan felony conviction of delivery of less than 50 grams of

cocaine. Under Michigan law, delivery of less than 50 grams of cocaine is a felony. Mich. Comp.

Laws § 333.7401(2)(a)(iv). The resulting lenient sentence of nine months’ incarceration does not

alter the fact that the 2006 conviction was a felony. See United States v. Jones, 559 F.3d 831, 837

(8th Cir. 2009) (prior felony drug conviction is qualified to trigger enhancement under § 841

regardless of whether the conviction was for simple possession and regardless of actual sentence

or whether imposition of a sentence was suspended).

       Therefore, I suggest that McKinney was properly sentenced and that McKinney cannot show

prejudice stemming from the alleged failure to raise the issue. I therefore suggest that the § 2255

motion be denied on this ground.

       5.      Conclusion


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       Even if the Court addresses the substance of McKinney’s arguments, for the reasons stated

above I suggest that he has not alleged any claims that could support a finding that his trial counsel

was ineffective, that he was prejudiced by any alleged ineffectiveness, or that the district court

proceedings were fundamentally unfair or unreliable. As a result, I suggest that the § 2255 motion

be denied in its entirety and this civil case be dismissed.

       E.     Evidentiary Hearing

       Section 2255 states that “[u]nless the motion and the files and the records of the case

conclusively show that the prisoner is entitled to no relief, the court shall cause notice thereof to

be served upon the United States attorney, grant a prompt hearing thereon, determine the issues and

make findings of fact and conclusions of law with respect thereto.” 28 U.S.C. § 2255(b). The Sixth

Circuit has “observed that a Section 2255 petitioner’s burden for establishing an entitlement to an

evidentiary hearing is relatively light.” Smith v. United States, 348 F.3d 545, 551 (6th Cir. 2003)

(citation omitted). “In reviewing a § 2255 motion in which a factual dispute arises, ‘the habeas

court must hold an evidentiary hearing to determine the truth of the petitioner’s claims.’” Valentine

v. United States, 488 F.3d 325, 333 (6th Cir. 2007). On the other hand, no hearing is required if the

motion’s allegations “cannot be accepted as true because they are contradicted by the record,

inherently incredible, or conclusions rather than statements of fact.” Arredondo v. United States,

178 F.3d 7787, 782 (6th Cir. 1999) (citation omitted). In addition, “the words ‘grant a prompt

hearing’ are not magic words requiring a district judge, who is fully familiar with the circumstances

under which a guilty plea was made, to duplicate procedures and conduct a hearing to resolve

alleged fact issues which can and should be decided on the record that already exists.” United States

v. Todaro, 982 F.2d 1025, 1030 (6th Cir. 1993).


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       In the instant case, there is no material factual dispute that a hearing could address.

Furthermore, since I suggest that McKinney cannot show prejudice from any alleged failures in his

trial counsel’s performance, the motion is one where “the files and the records of the case

conclusively show that the prisoner is entitled to no relief.” 28 U.S.C. § 2255(b). I therefore suggest

that McKinney is not entitled to an evidentiary hearing on the allegations raised in his motion.



       III.   REVIEW

       Pursuant to Rule 72(b)(2) of the Federal Rules of Civil Procedure, “[w]ithin 14 days after

being served with a copy of the recommended disposition, a party may serve and file specific

written objections to the proposed findings and recommendations. A party may respond to another

party’s objections within 14 days after being served with a copy.” Fed. R. Civ. P. 72(b)(2). See also

28 U.S.C. § 636(b)(1). The response shall be concise, but commensurate in detail with the

objections, and shall address specifically, and in the same order raised, each issue contained within

the objections.

       Failure to file specific objections constitutes a waiver of any further right of appeal. Thomas

v. Arn, 474 U.S. 140, 106 S. Ct. 466, 88 L. Ed.2d 435 (1985); Frontier Ins. Co. v. Blaty, 454 F.3d

590, 596 (6th Cir. 2006); United States v. Sullivan, 431 F.3d 976, 984 (6th Cir. 2005).




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        The parties are advised that making some objections, but failing to raise others, will not

preserve all the objections a party may have to this Report and Recommendation. McClanahan v.

Commissioner of Soc. Sec., 474 F.3d 830, 837 (6th Cir. 2006); Frontier Ins. Co., 454 F.3d at 596-

97.



                                                          s/ C harles`    EB   inder
                                                         CHARLES E. BINDER
Dated: June 28, 2012                                     United States Magistrate Judge




                                               CERTIFICATION
        I hereby certify that this Report and Recommendation was electronically filed this date and served upon
counsel of record via the Court’s ECF System and served on the following non-ECF participant via the United States
Postal Service: John Tyler McKinney, Jr. # 41867039, Elkton FCI, P.O. Box 10, Elkton, OH 44415

Date: June 28, 2012                              By      s/Patricia T. Morris
                                                         Law Clerk to Magistrate Judge Binder




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